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EXHIBIT B

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JB
FILED 5/25/2018 2:49 PM CLERK OF SUPERIOR COURT DEKALB COUNTY GEORGIA

General Civil and Domestic Relations Case Filing Information Form
18CV5627

Superior or C State Court of Deda tt c County

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Plaintiff’s Attorney Ya C2 Bar Number Self-Represented 0

Check One Case Type in One Box

General Civil Cases Domestic Relations Cases

O Automobile Tort oO Adoption

oO ’ Civil Appeal oO Dissolution/Divorce/Separate
Contract Maintenance
Garnishment O Family Violence Petition
General Tort O Paternity/Legitimation
Habeas Corpus O Support -IV-D
Injunction/Mandamus/Other Writ OD Support = Private (non-IV-D)
Landlord/Tenant Oo Other Domestic Relations

Medical Malpractice Tort

Product Liability Tort Post-Judgment — Check One Case Type

Real Property o Contempt

Restraining Petition 1 Non-payment of child support,
Other General Civil medical support, or alimony

" QO = Modification

0 Other/Administrative

vee

Oo Check if the action is related to another action(s) pending or previously pending in this court involving some or all
of the same parties, subject matter, or factual Issues. If so, provide a case number for each.

Case Number Case Number
oO I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
redaction of personal or confidential information in O.C.G.A. § 9-11-7.1.
QO Is an interpreter needed in this case? If so, provide the language(s) required.
Languaga(s) Required
Oo Do you or your client need any disability accommodations? If so, please describe the accommodation request,

Version 1.1.18

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IN THE SUPERIOR COURT OF DEKALB COUNTY
STATE OF GEORGIA

Seow w» Bocuse as Case No: 18CV5627

Plaintiff

VS
Lede Funloy ,

B choo, Derntl sven a gh

/ Defendant

SUMMONS

TO THE ABOVE NAMED DEFENDANT(S):

You are hereby summoned and required to file electronically with the Clerk of said court at

https://efilega, tylerhost.net/ofsweb and serve upon the Plaintiff’s attorney, whose name, address and email is:
Steve Berw send

jE Vv ee Vine Yb oo
le 30339 Sheu. Pat char Cn
An answer to the rene longa which is herewith served upon you, within 30 days after service of this summons
upon you, exclusive of the day of service. If you fail to do so, judgment by default will be taken against you for
the relief demanded in the complaint.

Ma
This 2sth day of y , 20 18

Honorable Debra DeBerry
Clerk of Superior Court

/s/ Jazmen Booker
By

Deputy Clerk
E-Filing and E-Service
Pursuant to the Superior Court of DeKalb County’s E-File Order, dated December 27, 2016, and available at www,dksuperiorclerk.com/civil, the
parties must file all documents electronically through eFileGA unless expressly exempted under the Rule. All orders and notices from the Court will

be electronically filed and served through eFileGA. The parties must register for an eFileGA account, link their service contact information with the
ease and the party represent, and take whatever steps are necessary to ensure that correspondence from eFileGA reaches the patties’ inboxes. To

access eFileGA, please go to http://www.odysseyefilega.com/

Instructions: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

a Case 1:18-cv-02887-RWS Document1-2 Filed 06/14/18 Page 4of 52
“ . FILED 5/25/2018 2:49 PM CLERK OF SUPERIOR COURT DEKALB COUNTY GEORGIA .

IN THE SUPERIOR COURT OF DEKALB COUNTY
STATE OF GEORGIA

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VS
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ELECTRONIC SERVICE / NOTICE WAIVER CERTIFICATION

The Undersigned Plaintiff/ Defendant hereby requests a waiver from participating in E-Service and E-
Notice pursuant to the Superior Court’s December 27, 2016 E-file Standing Order because I certify that do not
have an email address and/or access to a computer.

THIS SPS DAY OF Mey ath

Notary Pubfcl wt, Signature
My commission expires: a UW 0 ‘
OFFICIAL SEAL
aaa LDEAS
Notary Public, Gaorgia
GWINNETT COUNTY - -

My Commission Expires
February 18, 2020

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FILED 5/25/2018 2:49 PM CLERK OF SUPERIOR COURT DEKALB COUNTY GEORGIA

"IN THE SUPERIOR COURT OF DEKALB COUNTY
| STATE OF GEORGIA

18CV5627
Shh Ws ev shea Case No.:

VS
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Yrsbin, Denham, aE a

ORDER GRANTING RELIEF FROM ELECTRONIC SERVICE/ NOTICE

After a review of the foregoing request, this Court hereby grants the Motion
to Relieve said Movant from participating with E-Service/ E-Notice in DeKalb

- County Superior Court. 4.
-
SO ORDERED this,2 day of M ky, 20 / y

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State of Georgia

By Designation uyjyBne OW *W 49er

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‘IN THE SUPERIOR COURT OF DEKALB COUNTY
STATE OF GEORGIA

18CV5627
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After a review of the foregoing request, this Court hereby grants the Motion
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- County Superior Court. Ch.
SO ORDERED this,2.§ day of mM 4 a9 ¥

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Judge

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FILED 5/25/2018 2:49 PM CLERK OF SUPERIOR COURT DEKALB COUNTY GEORGIA

IN THE SUPERIOR COURT OF DEKALB COUNTY
State of Georgia

Steven W. Bernstein,
Plaintiff CIVIL ACTION
VS.

Linda Findley (individually and in her No, 18CV5627
professional capacities),

‘Baker, Donelson, Beaman, Caldwell &
Berkowitz, A Professional Corporation

Wells Fargo Bank, N.A,
McCalla Raymer Leibert Pierce, LLC
Defendants

AND REQUEST FOR ADR
(Mediation)

VERIFIED COMPLAINT

COMES NOW, disabled! and elderly Plaintiff, Steven W. Bernstein, (“Plaintiff’ or
“Mr. Bernstein”), and respectfully files his Verified Complaint and shows the following:

' In 2015, Mr. Bernstein was diagnosed with Multiple Systems Atrophy (“MSA”), and he
is currently awaiting his 6th heart surgery.

According to Mayo Clinic: https:/Awww.mayoclinic.org/diseases-conditions/multiple-
system-atrophy/symptoms-causes/syc-20356153, “Multiple system atrophy (MSA) is a
rare, degenerative neurological disorder affecting your body's involuntary (autonomic)
functions, including blood pressure, breathing, bladder function and muscle control”.

“Formerly called Shy-Drager syndrome, MSA shares many Parkinson's disease-like
symptoms, such as slow movement, rigid muscles and poor balance”.

“Treatment includes medications and lifestyle changes to help manage symptoms, but there
is no cure. The condition progresses gradually and eventually leads “to death”.

“Multiple system atrophy (MSA) affects many parts of your body. Symptoms typically
develop in adulthood, usually in the 50s or 60s”.

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I, BRIEF INTRODUCTION

Defendants in this matter, have stepped beyond their respective rights and abilities
and caused Plaintiff serious harm and injury resulting in liability for damages to the

Plaintiff.

The entities named herein, have, in the past, currently are, and in the future will be
guilty of violating Georgia Real Property Laws, and have ignored and failed to timely and
properly respond to Notice of Error and Debt Validation Requests (“NEDVR”), as well
as Qualified Written Requests (“QWR’s), and have committed fraud upon the Courts in

this state to obtain rulings in their favor.

Defendant, Wells Fargo & Company, parent company to Wells Fargo Bank, N.A.,
and Wells Fargo Home Mortgage, is responsible for their banks and lenders. Defendants
Linda Findley and Baker Donelson have an obligation to treat Mr. Bernstein fairly and with

good faith, which they have refused to do.

Wells Fargo plans to foreclose and exercise the Power of Sale on June 05, 2018,
regardless of the fact Mr. Bernstein rescinded the loan within a year of the loan closing.
Mr. Bernstein took all of the required steps to ensure rescission. Wells Fargo refused to
accept rescission, Mr. Bernstein performed a second rescission before three years after
closing. Mr. Bernstein has qualified and been approved for a reverse mortgage, four
different time, but Wells Fargo has maliciously refused to co-operate and refused to by

provide a complete and proper payoff.

Wells Fargo, has now decided that they will foreclose and exercise the Power of
Sale alleged to be part of Mr. Bernstein’s loan contract. Wells Fargo and their foreclosure

execution team have scheduled a foreclosure and auction for June 05, 2018.

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I. JURISDICTION AND VENUE

1, Jurisdiction is proper in DeKalb County Superior Court, pursuant to Ga. Const.

1983, Art. VI, § IV, 11. "The superior courts ... shall have exclusive jurisdiction ... in cases
respecting title to land, Setlock v. Setlock, 286 Ga. 384, 688 SE2d 346 (2010); in divorce

cases; and in equity cases".

2. The judges of the superior courts have authority to grant for their respective circuits
writs of certiorari, supersedeas, quo warranto, mandamus, habeas corpus, and bail in
actions ex delicto (O.C.G.A. § 15-6-9(1); writs of injunction, prohibition, and ne exeat
(0.C.G.A. § 15-6-9(3))?, as well as to entertain bills guia timet (O.C.G.A. § 15-6-9(2));
Superior Courts correct errors made by lower courts on appeal and have jurisdiction to

grant equitable relief.

3. Venue is proper in this Court, as the subject of this complaint is real property and

title thereto; the property is located within DeKalb County.

III. THE PARTIES
4, Plaintiff, Steven W. Bernstein, at all times relevant, has owned and resided at 1428

Valley View Rd., Dunwoody, Ga. 30338, in DeKalb County.

5. Defendant Linda Finley (individually and in her professional capacity)
(“Finley”), during all times relevant, has been an attorney and partner with the law firm of
Baker Donelson Bearman Caldwell & Berkowitz, PC, located at 3414 Peachtree Road,
N.E. Suite 1600, Atlanta, GA 30326 in Fulton County, where service of process can be

perfected upon her.

6. Defendant Baker, Donelson, Beaman, Caldwell & Berkowitz, A Professional

Corporation (“Baker Donelson”), during all times relevant, has been a Foreign Profit

? See Fuller v. Williams, 150 Ga. App. 730, 258 S.E.2d 538 (1979), judgment rev'd, 244
Ga. 846, 262 S.E.2d 135 (1979); s.c., 153 Ga.App. 282, 266 S.E.2d 806 (1980).

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Corporation, formed and existing under the laws of Tennessee, with their principal Office
Address located at 165 Madison Ave., 20h Floor, Memphis, TN 38103. Service of Process
will be perfected upon this defendant, through their Registered Agent: Linda A. Klein,
Peachtree Road, Suite 1600, Atlanta, GA 30326 in Fulton County.

7. Defendant Wells Fargo Bank, N.A. (“Wells Fargo”), during all times relevant, has
been a foreign profit corporation, formed and existing under the laws of California, with
their Principal Office Address at 464 California Street, San Francisco, CA: 94104. Wells
Fargo is the main operating subsidiary of the holding company Wells Fargo & Company.
Wells Fargo Home Mortgage is a division of Wells Fargo Bank, N.A. and is a licensed
mortgage lender. Wells Fargo offers and provides real-estate-settlement services to
consumers primarily for personal, family, and household purposes, including but not
limited to the origination of federally related mortgage loans by the taking of loan
application loan processing, and the underwriting and funding of loans see CFPA, 12
U.S.C, § 2602(3). Wells Fargo is there a “covered person” under the CFPA. 12 U.S.C. §
5481(6), (15)(A)(iii). Wells Fargo is also a “merchant” under CPA § 13-101(g) because it
offers or makes consumer credit available to consumers. Service of Process will be
perfected, by service upon their Registered Agent: Corporation Service Company, 40

Technology Parkway, South, Suite 300, Norcross, GA 30092, in Gwinnett County.

8. Defendant McCalla Raymer Leibert Pierce, LLC (“McCalla”) during all times
relevant has been a Domestic Limited Liability Company and an agent of Wells Fargo, and
the entity carrying out the foreclosure on the property; service of process will be perfected
upon McCaila by serving Summons and Complaint upon their Registered Agent: Marty
Stone,. 1544 Old Alabama Road, Roswell, GA 30076, Fulton County.

9. The Defendants, and each of them, were the agents, employees, representatives,
partners, officers, principals and/or joint venturers of each of the remaining defendants,

and in doing the things hereinafter alleged, were acting within the scope, course and

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purpose of such agency, employment or position, or within the apparent scope, course and

purpose of such agency, employment or position and with permission and consent of each

of the remaining defendants. *

IV. STATEMENT OF FACTS RELEVANT TO ALL CLAIMS FOR RELIEF

10... Mr. Bernstein, purchased the property commonly known as 1428 Valley View Rd.,
Dunwoody, GA in DeKalb County, for his primary residence, and which is more
thoroughly described as:

All that tract or parcel of land lying and being in Land Lot 363 of the 18"
District, DeKalb County, Georgia, being Lot | and part of Lot 19, Valley
View Subdivision, which tract is more particularly described as follows:
Beginning at an iron pin set on the northerly right of way of Valley View
Road, (60 foot right of way), which iron pin is located 1136.63 along said
right of way from its intersection with the southerly right of way of
Chamblee Dunwoody Road from said point of beginning as thus
established, thence running south along the northerly right of Valley View
Road and along there arc of a curve a distance of 54.79 feet which arc has
a radius of 161.00 feet, thence continuing along said right of way south 89
degrees 21 minutes 51 seconds west a distance of 51.09 feet, thence
leaving the northerly right of way of Valley View Road and running north
23 degrees 49 minutes 19 seconds west a distance of 208.49 feet to an iron
pin set, thence running north 38 degrees 28 minutes 28 seconds east a
distance of 67.40 feet to an iron pin found, thence running south 42
degrees 59 minutes 48 seconds east a distance of 122.78 feet to an iron
pin set; thence running south 23 degrees 49 minutes 19 seconds east a
distance of 156.65 feet to an iron pin set is also the point of beginning and
all as depicted on that plat of survey for Steven W. Bernstein and Dorothy
E. Groselle, by Solar Land Surveying Company, dated June 7, 1994.

11. Mr. Bernstein has attached the Warranty Deed hereto as EXHIBIT A.

> Whenever, appearing in this complaint, each and every reference to Defendants or to any
of them, is intended to be and shall be a reference to all Defendants hereto, and to each of
them unless said reference is specifically qualified.

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12. During the 23 years that Mr. Bernstein has owned the property, he paid a down
payment of $222,265.00 at the time of purchase, and has since paid over $391,104.00 in

interest towards his mortgage.

13. On or about November 2, 2007, Plaintiff refinanced his loan, which he rescinded

twenty-eighty months later by operation of law.

14. The refinance is evidenced by the Promissory Note and Security Deed executed by

Mr. Bernstein in favor of Terrace Mortgage Company (“TMC”)‘,

15. The Security Instrument was recorded at Deed Book 20463, Page 289 in the DeKalb
County Georgia Records, and is attached hereto as EXHIBIT B.

16. At the time the home was built for Mr. Bernstein, there was a survey, which Mr.

Bernstein has attached as EXHIBIT C.

17. | Contemporaneously with the filing of this Verified Complaint, Mr. Bernstein also
caused to be recorded into the DeKalb County Georgia Records, a Lis Pendens, see

EXHIBIT D.

18. On March 04, 2010, Wells Fargo sent Mr. Bernstein a letter acknowledging the
rescission, but did not file suit, or send a check for the. closing costs and twenty-eight

months of interest Mr. Bernstein had paid.

19. Shortly thereafter, Wells Fargo initiated foreclosure; A hearing on Mr. Bernstein’s
Temporary Restraining Order was scheduled In DeKalb County Superior Court for March
10, 2010 there

20. Mr. Bernstein received a letter from Linda Finley, Esq.* informing Mr. Bernstein

420. The Promissory Note signed by Mr. Bernstein, and in favor of TMC, was a
“consumer credit transaction” within the meaning of, and subject to the Truth in Lending
Act (“TILA”).

> Linda Finley is an attorney at Baker Donelson.

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that she had a conflict and would be unable to appear in court until 10:00 am; Mr. Bernstein

and his attorney Dale Calomeni appeared at the Court at 09:50 am.

21. Mr, Bernstein and Calomeni were informed that Linda Finley had appeared at 09:10
am and had the case transferred to Gwinnett County, even though Mr. Bernstein lived in
DeKalb County. Due to circumstances brought on by Finley’s transfer of his case, Mr.

Bernstein ended up being forced to file bankruptcy in order to stop the sale of his property.

22. Because of Finley’s transfer to Gwinnett County, the case ended up being
transferred to US District Court for the Northern District of Georgia, Atlanta Division,

where it sat in front of Judge Story for almost three (3) years.

23. Linda Finley had Wells Fargo attempt to foreclose of Mr. Bernstein’s property every
couple of months, from which Mr. Bernstein was forced to file Bankruptcy two additional

times.

A, Failure to Comply With Notice of Error, Debt Validation, and Requests for

Full Payoff Amounts, and Issues of Breaks in the Chain of Title

24. Mr. Bernstein’s last attempt to obtain information, was on or around, April 23, 2018,
when he sent a Notice of Error/Debt Validation/Request for Information (“NEDVR’”) to
Wells Fargo EXHIBIT E.

25. The NEDVR further specifically requested, pursuant to 15 U.S.C. §1641(f)(2) of
TILA the full name, address and telephone number of the current owner of the original
mortgage note, and informed Wells Fargo that the request is also a Request for Information
pursuant to 12 C.F.R. §1024.26(d)(2)(i)(A), and that they must acknowledge the request

within five (5) days, and respond within ten (10) business days after receiving the request.
26. Wells Fargo has failed and refused to timely comply.

27. Mr. Bernstein’s attempts to obtain information, have errors corrected, the debt

validated, and payoff requests, remain un-responded to.
7

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28. Mr. Bernstein has made Wells Fargo aware of several breaks in the chain of title,
and he has attempted to have the issues corrected so that he can finally get a proper payoff

amount, and execute the reverse mortgage that is waiting for information.

29. — Instead of complying the statutes and regulations on the NEDVR, Wells Fargo plans

to execute a sale under power on June 05, 2018.

30. Defendants have apparently decided to just foreclose on Mr. Bernstein’s property,
regardless of the fact that Mr. Bernstein lawfully executed legal rescission that Wells Fargo
has refused to acknowledge; the first time within one year of closing, and the second, before

expiration of three years.®

31. Mr. Bernstein continues seeking information pursuant to Regulation Z: 12 C.F.R.
§1026.36(c)(3) concerning the total outstanding balance that would be required to satisfy
the debt.

32. 12C.F.R. §1026.36(c)(3) Regulation Z, requires the response be made within seven
(7) business days, Wells Fargo has repeatedly failed to comply with the timeline.

33. TILA defines a “consumer credit transaction” as “a credit transaction primarily for
a personal, family, or household purpose that bears a finance charge (designed to exclude
sales with a down payment and thirty/sixty/ninety days ‘same as cash’ but to include

longer-term credit with a finance charge built in to the price)”.

34, Mr. Bernstein’s loan is a “residential mortgage transaction as defined by 15 U.S.C.

§ 1602(x).

35. 15 U.S.C. § 1602(x) defines a “residential mortgage transaction” as “a transaction

in which a mortgage, deed of trust, purchase money security interest arising under an

6 The matter of rescission is currently in front of the US Supreme Court, and hopefully the
US Supreme Court will hear that issue, it is not being brought before this court, Mr.
Bernstein wants to make sure that he informs the court of all the pertinent facts.

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installment sales contract, or equivalent consensual security interest is created or retained /
against the consumer’s dwelling to finance the acquisition or initial construction of such

dwelling”.

36. Over the years, Mr. Bernstein has repeatedly attempted to work with Wells Fargo,

and no matter the circumstance, Wells Fargo has failed and refused to co-operate.

37. Mr. Bernstein, on more than one occasion, specifically requested the “full name,
address and telephone number of the current owner of the original note”; information he

has repeatedly been denied.

38. Mr. Bernstein alleges that Wells Fargo, as well as their attorneys (agents) have

repeatedly failed and refused to comply with 15 U.S.C. §1641(£)(2).

39. Mr. Bernstein alleges that Wells Fargo has repeatedly refused to provide an accurate

payoff statement, in violation of 15 U.S.C. § 1639g.

40. Mr. Bernstein alleges that not only has Wells Fargo and their agents repeatedly
failed and refused to properly address his specific inquiries for a detailed explanation of

specific fees and charges, they have found it within their best interests to not respond at all.

41. Mr. Bernstein, who on four (4) separate occasions, had applied, and been approved
for a reverse mortgage, if Wells Fargo would supply an accurate, up to date payoff

statement.

42. Every one of those four (4) separate occasions, Wells Fargo failed and refused to

supply the requested payoff statement.

43. Section 1639g of TILA states: “A creditor or servicer of ahome loan shall 7 send

7 Unmistakably mandatory character, requiring that certain procedures "shall," "will," or
"must" be employed Hewitt vy. Helms, 459 US 460 - Supreme Court 1983; "mandatory
language, the words ‘shall’, ‘must, or ‘will’ In sum, the use of ‘explicitly mandatory
language,’ ... establishment of "specified substantive predicates" to limit discretion, .... "
Hewitt v. Helms, 459 U. S., at 472." .. is perfectly clear and unambiguous. Pleasant v.

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an accurate payoff balance within a reasonable time but in no case more than 7 business
days, after the receipt of a written request for such balance from or on behalf of the

borrower” 15 U.S.C. § 1639g.

44. Mr. Bernstein alleges that Wells Fargo has repeatedly failed and refused to provide

the requested information and documentation.

45. Wells Fargo has a long history of violating banking laws, credit laws, mortgage
laws, foreclosure laws, and being fined by the FTC, CFPBA, DOJ, OCC, as well as all fifty

States.

46. Mr. Bernstein has been patient, and has given defendants every opportunity to fulfill
the requirements, they just are not going to comply with the requests, and they still plan to

move forward with a wrongful foreclosure, without concern for the consequences.

47. Mr. Bernstein alleges the reason that Wells Fargo has repeatedly refused to
acknowledge two timely rescissions, refused to provide proper payoffs for the reverse
mortgages, and flat out failed and refused to respond to QWRs and NEDVRs is because
they are not the holder of the Note and/or Security Deed and in fact, lack all standing to

assist with Mr. Bernstein’s loan in any way.

48. Mr. Bernstein contends that defendants do not hold the required positions necessary

in order to conduct a non-judicial foreclosure and sale under power for her property.

49, Mr. Bernstein is a consumer®, who has been denied payoff requests, made pursuant

Luther, 195 Ga.App. 889, 890(1), 395 S.E.2d 79 (1990). Its language is mandatory. Preece
Turman Realty Company, Inc. 228 Ga. App. 609, 492 S.E.2d 342 (1997). "To create a
constitutionally protected liberty interest, a state must employ ‘language of an
unmistakably mandatory character, requiring that certain procedures "shall," "will," or
“must" be employed ... '" Russ v. Young, 895 F.2d 1149, 1153 (7th Cir.1990) (quoting
Hewitt, 459 U.S. 471- 72, 103 S.Ct. at 871). Protected due process liberty interests can be
created, however, when a state "plac[es] substantive limitations on official discretion,"
Olim v. Wakinekona, 461 U.S. 238, 249, 103 S.Ct. 1741, 1747, 75 L.Ed.2d 813 (1983).

8 This section defines a consumer as follows: “(i)...‘consumer’, used with reference to a credit
10

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to 15 U.S.C. §1639g. and 12 C-F.R. 1026.36(c)(3) Regulation Z.

50. | The response Mr. Bernstein has been Notice of Foreclosure, rather than the proper

amount to satisfy the loan.

51. | Wells Fargo is a “creditor”? within: 15 U.S.C. §1639(t) states: “(2) Prompt
delivery. Payoff balances shall be provided within 5 business days after receiving a request
by a consumer or a person authorized by the consumer to obtain such information”. 15

U.S.C.A. § 1639 (West).

52. Wells Fargo further, falls within the definition of servicer in this code section. “A
creditor or servicer’? of a home loan shall send an accurate payoff balance within a
reasonable time, but in no case more than 7 business days, after the receipt of a written

request for such balance from or on behalf of the borrower.” 12 C.F.R. § 1026.36(c)(3).

53. To date, Mr. Bernstein has never been provided a proper payoff amount.

54. Wells Fargo was obligated to disclose the identity of the owner of the obligation, as
well as its address and telephone number pursuant to 12 C.F.R. § 1024.36(d)(2(i)(A) of

Regulation X, which they failed and refused to disclose.

55. More specifically, § 1641(£)(2) states in part: “Upon written request by the obligor,

transaction, characterizes the transaction as one in which the party to whom credit is offered
or extended is a natural person, and the money, property, or services which are the subject of
the transaction are primarily for personal, family, or household purposes” (15 U.S.C.A. § 1602
(West)).

° “The term ‘creditor’ refers only to a person who both (1) regularly extends, whether in
connection with loans, sales of property or services, or otherwise, consumer credit which is
payable by agreement in more than four installments or for which the payment of a finance
charge is or may be required, and (2) is the person to whom the debt arising from the consumer
credit transaction is initially payable on the face of the evidence of indebtedness...” (15
U.S.C.A. § 1602 (West)).

'® Servicer means a person responsible for the servicing of a federally related mortgage loan
(including the person who makes or holds such loan if such person also services the loan). 12
C.F.R. § 1024.2

1]

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the servicer shall provide the obligor, to the best knowledge of the servicer, with the name,
-address, and telephone number of the owner of the obligation...” (15 U.S.C.A. § 1641
(West)).

56. 12 C.F.R. § 1024.36(d)(2)(i)(A) requires a servicer to provide a response “not later
than 10 days (excluding legal public holidays, Saturdays, and Sundays) after the servicer
receives an information request for the identity of, and address, or other relevant contact

information for, the owner or assignee of a mortgage loan” (emphasis added).

57. Wells Fargo, upon written request, was obligated to acknowledge receipt of Mr.
Bernstein’s Written Request in writing within five (5) business days, pursuant to 12 C.F.R.

§1024.36(c), which they failed and refused to acknowledge.

58. Wells Fargo further, was obligated to provide a written response to Mr. Bernstein
within thirty (30) business days, which included the requested information, or stated that
the “requested information is not available to the servicer” and the “basis for the servicer’s

determination”. See 12 C.F.R. § 1024.36(d), which to date, they have failed and refused

to provide.

59. The CFPB has acknowledged that “There is evidence that borrowers [have been]
subjected to improper fees that servicers had no reasonable basis to impose, improper
force-placed insurance practices, and improper foreclosure and bankruptcy practices.” 78

Fed. Reg. 10902, 10906 (Feb. 14, 2013)(emphasis added).

60. The Note signed by Mr. Bernstein, in connection with the loan serviced by Wells

Fargo is a consumer credit transaction! within the meaning of, and subject to TILA.

'! The term consumer credit transaction is defined as “a credit transaction, primarily for a
personal, family, or household purpose, that bears a finance charge, or such a transaction
payable in more than four installments without a finance charge (designed to exclude sales
with a down payment and thirty/sixty/ninety days ‘same as cash’ but to include longer-term
credit with a finance charge built into the price).

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61. Mr. Bernstein’s loan, is a “residential mortgage transaction” as defined by 15 U.S.C.

§1602(x)!2,

62. Mr. Bernstein specifically requested the “full name, address and telephone number

of the current owner of the original note.

63. Mr. Bernstein alleges that Wells Fargo has failed and refused to comply with 15
U.S.C. §1641(f)(2).

64, Mr. Bernstein alleges that Wells Fargo has repeatedly failed and refused to provide

an accurate payoff statement, in violation of 15 U.S.C. § 1639g.

65. Mr. Bernstein alleges that Wells Fargo has repeatedly failed and refused to properly
address huis specific inquiries for a detailed explanation of specific fees and charges,
including, but not limited to inspections, force placed insurance, escrow payments,

unapplied funds accounts.

66. Mr. Bernstein made perfectly clear what he was looking for, that he has the right to
be provided the information he seeks, recited the lengths of time they legally have to

respond, and they still failed and refused to respond.

67. Section 1639g of TILA states: “A creditor or servicer of a home loan shall 3send

'2 The term “residential mortgage transaction” means a transaction in which a mortgage, deed
of trust, purchase money security interest arising under an installment sales contract, or
equivalent consensual security interest is created or retained against the consumer’s dwelling
to finance the acquisition or initial construction of such dwelling.

'S Unmistakably mandatory character, requiring that certain procedures "shall," "will," or
“must be employed Hewitt v. Helms, 459 US 460 - Supreme Court 1983; “mandatory
language, the words ‘shall’, ‘must’, or ‘will’ In sum, the use of ‘explicitly mandatory
language,” ...establishment of "specified substantive predicates" to limit discretion, ....”
Hewitt v. Helms, 459 U.S., at 472, “.. is perfectly clear and unambiguous. Pleasant v. Luther,
195 Ga.App. 889, 890(1), 395 S.E.2d 79 (1990). Its language is mandatory. Preece v Turman
Realty Company, Inc. 228 Ga. App. 609, 492 S.E.2d 342 (1997). "To create a constitutionally
protected liberty interest, @ state must employ ‘language of an unmistakably mandatory
character, requiring that certain procedures "shall," "will," or "must" be employed ...'" Russ
v. Young, 895 F.2d 1149, 1153 (7th Cir.1990) (quoting Hewitt, 459 U.S. at 471-72, 103 S.Ct.

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an accurate payoff balance within a reasonable time but in no case more than 7 business

days, after the receipt of a written request for such balance from or on behalf of the
borrower.” 15 U.S.C. §1639¢.

68. Mr. Bernstein alleges that Wells Fargo has repeatedly failed and refused to provide

the requested information, and documentation.

69. Mr. Bernstein has never been able to get Wells Fargo to explain the charges added

to his loan, apparently the charges lack legitimacy.

70. Mr. Bernstein alleges that to date, Wells Fargo has failed and refused to adequatley
respond to his QWRs in violation of 12 C.F.R. § 1024.36(c) and 12 CFR.

1024.36(d)(2)(i)(B).

71. Mr. Bernstein alleges that to date, Wells Fargo has failed and refused to provide the
address and telephone number of the owner, who it has been alleged is GNMA, of the
subject obligation, contrary to, in violations of 15 U.S.C. §1641(f(2) and 12 C.F.R.
§1024.36(d)(2)(i)(A).

FIRST CLAIM FOR RELIEF
BREACH OF CONTRACT

(Wells Fargo, McCalla, Baker Donelson, Finley)

72. Mr. Bernstein contends that he entered into two legal binding contracts when he

refinanced his loan with Terrace Mortgage Company.

73. As the alleged assignee of the loan, Wells Fargo, and their agents were obligated to
adhere and abide by the legal binding contracts signed by Mr. Bernstein in favor of Terrace

Mortgage Company.

74, Mr. Bernstein alleges that he and anyone with the original promissory note and

at 871). Protected due process liberty interests can be created, however, when a state "plac[es]
substantive limitations on official discretion," Olim vy. Wakinekona, 461 U.S. 238, 249, 103
S.Ct. 1741, 1747, 75 L.Ed.2d 813 (1983).

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security deed are part of a binding contractual agreement.

75. Mr. Bernstein alleges that Wells Fargo knowingly, willingly, wantonly, and with
malicious intent breached the terms of the parties’ loan/mortgage agreement(s)\contract(s)
in conjunction Breach of Contract with the property and account(s) at issue in this

litigation.

76. Mr. Bernstein alleges that Wells Fargo as servicer, along with the true secured
creditor whoever it turns out to be, negligently breached the terms of the loan agreements

at issue, for example by failing to fulfill and comply with the Security Deed.

77. More specifically, the contract was breached by failure to adhere to Security Deed
§ 2: “Application of Payments... Except as otherwise described in this Section 2 all
payments accepted and applied by Lender shall be applied in the following order of priority
(a) interest dye under the Note; (b) principal due under the Note, (c) amounts due under
Section 3 Such payments shall be applied to each Periodic Payment in the order in which

it became due...”

78. Mr. Bernstein alleges that the payments were improperly applied to the debt, and/or
wrongfully held in an unapplied funds account when there had been no deficiency or late

payments, which would allow such payment(s) to be held.

79. Mr. Bernstein alleges that one of the reasons that Wells Fargo has repeatedly
ignored Mr. Bernstein’s demands for an accounting, is because Wells Fargo has
mismanaged the payments and escrow ever since the time they allegedly were assigned the

loan.

80. Mr. Bernstein alleges that in the past, he had to file bankruptcy in order to stop Wells

Fargo from, foreclosing when Mr. Bernstein was in the middle of a reverse mortgage.

81. Mr. Bernstein alleges that in the past he had to file a civil action in US District

Court due to Wells Fargo’s refusal to acknowledge the legally executed rescission of the

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loan.

82. Mr. Bernstein alleges that Wells Fargo has breached their contractual duties found
within the security deed and note, concerning application of his payments, and acceleration

of the debt.

t
83. As a direct and proximate cause of Wells Fargo, and their agents’ actions, Mr.

Bernstein has been harmed, injured, and suffered damages.

84. - Good faith and fair dealing are implied to be part of every contract.!* though not

cause for an independent action.

85. The first page of the Security Deed “(I) ‘Applicable Law’ means all controlling
applicable federal, state and local statutes, regulations, ordinances and administrative rules

and orders ... as well as all applicable final, non-appealable judicial opinions”.

86. Defendants in this action have ignored state and federal laws as well as United States

Supreme Court Rulings, see
WHEREFORE, Mr. Bernstein prays for the relief shown in the final prayer for relief.

SECOND CLAIM FOR RELIEF
NEGLIGENCE\GROSS NEGLIGENCE

(Wells Fargo, Baker Donelson, Finley)

87. A breach of contract does not preclude an action in tort based on the same course of

conduct, “It is axiomatic that a single act or course of conduct may constitute not only a
breach of contract, but an independent tort as well...” Sheppard v. Yara Eng’g Corp., 281 .

S.E.2d 586, 587 (1981).

4 Every contract implies a covenant or duty of good faith and fair dealing in the
performance of the agreement and its enforcement. The good-faith duty imposed upon a
party to a contract is a shorthand way of saying substantial compliance with the spirit, and
not merely the letter, of a contract.

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88. Mr. Bernstein contends that Wells Fargo was negligent in the maintenance,
accounting, and servicing of his loan; that the Noteholder has a responsibility to have an
honest servicer administering the payments into, and out of his account, thereby the true

holder of the note is negligent by employing Wells Fargo to be servicer.

89. Wells Fargo has been repeatedly found guilty of mishandling accounts, as well as

us8ing robo-signers and illegally creating documents and accounts.

90. Mr. Bernstein alleges that the contract imposed a legal duty, upon the true owner of
the loan, Wells Fargo, and Wells Fargo’s agents (Finley and the law firm) which existed

apart from the specific obligation of the contract.

91. Mr. Bernstein alleges that the duty created apart from the obligations of the contract
were violated by all defendants and whoever owns the loan, the legal duty owed, was a

duty to avoid harming Mr. Bernstein.

92. Mr. Bernstein alleges that the duty created apart from the obligations of the contract

were violated by all defendants.

93. As a direct and proximate cause of the defendants’ actions/inactions discussed

throughout this complaint, Mr. Bernstein has been harmed, injured, and suffered damages.

THIRD CLAIM FOR RELIEF
VIOLATIONS OF 15 U.S.C. § 16392 AND § 1641(f)(2)
(Wells Fargo, and Their Agents)

94. Wells Fargo has failed and refused to confirm the identity of, and to provide the

address and telephone number for the owner of the subject obligation, contrary to 15 U.S.C.
§ 1641(f)(2).

95. Wells Fargo has failed and refused to provide an accurate payoff statement, contrary

to 15 U.S.C. §1639¢.

96. | Upon information and belief, whoever owns the loan has have considerable control

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over Wells Fargo by virtue of a Servicing Agreement that governs their relationship.

97. Upon information and belief, one of the very specific functions the Servicing
Agreement was designed to cover was Wells Fargo’s responding to requests for

information, notices of error, and requests for payoff statements.

98. ‘Plaintiff attempted to amicably resolve the above-shown issues, prior to filing of

this civil action.

99. Mr. Bernstein is entitled to the following damages for violations of TILA by Wells
Fargo, in the form of statutory damages of not less than $400 nor greater than $4,000
pursuant to 15 U.S.C. § 1640(a)(2)(A)(iv), and the costs of this action together with a
reasonable attorney's fees'> as determined by the court, pursuant to 15 U.S.C. § 1640(a)(3).

FOURTH CLAIM FOR RELIEF
VIOLATION OF 12 U.S.C. § 2601 ef seq
(Wells Fargo and Their Agents)

100. Mr. Bernstein alleges that Wells Fargo is servicer of his “federally related mortgage

loan”.

101. Mr. Bernstein shows that his loan is a federally related mortgage loan”, because it
is a loan that: “(1) involves a 1-4 unit residential property, and (2) was made by a federally
insured institution, guaranteed or insured by a federal agency, sold or intended to be sold
to a federally related entity, or made by a creditor who has made a large number of

residential loans”. 12 U.S.C. § 2602(1); 12 U.S.C. § 2605(e).

102, Mr. Bernstein alleges that Wells Fargo is a “creditor” for purposes of RESPA,
because Wells Fargo “(1) regularly extends, whether in connection with loans, sales of

property or services, or otherwise, consumer credit which is payable by agreement in more

'S The attorneys fees would only be if and when Mr. Bernstein locates and retains competent
legal counsel, of which she continues to interview.

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than four installments or for which the payment of a finance charge is required, and (2) is

"the entity to whom the debt arising from the consumer credit transaction is payable”.

103. Mr. Bernstein further alleges that his QWR was in writing, and his inquiry was
related to the “servicing of the loan”, which is defined as ‘receiving any scheduled periodic

payments from a borrower pursuant to the terms of any loan...”” 12 U.S.C. § 2605(i)(3).

104, Mr. Bernstein’s QWR was pursuant to and in compliance with 12 U.S.C. §
2605(e)(1)(B); the request was made in writing, stated the Borrower’s name, the property
address, the loan number, and that the inquiry was related to the servicing of his loan, 12

U.S.C. § 2605(e)(1).

105. Mr. Bernstein alleges that Wells Fargo committed prohibited acts within 12 U.S.C.
§ 2605(k) Servicer prohibitions, in that Wells Fargo “failed to timely respond to Mr.
Bernstein’s requests to correct errors relating to ... final balances for purposes of paying

off the loan, and/or avoiding foreclosure, and/or other standard servicer’s duties.

106. Mr. Bernstein alleges that Wells Fargo committed prohibited acts within 12 U.S.C.
§ 2605(k), in that Wells Fargo failed to respond within 10 business days to a request from
a borrower to provide the identity, address, and other relevant contact information about

the owner or assignee of the loan. 12 U.S.C. § 2605(k)(emphasis added).

107. Sections 1024.35 (Notice of Error) and 1024.36 (Request for Information) of
Regulation X were both promulgated pursuant to Section 6 of RESPA and thus subject to
RESPA’s private right of action.'6

'© See 78 Fed. Reg. 10696, 10714, FN. 64 (Feb. 14, 2013)(“The [CFPB] notes that
regulations established pursuant to section 6 of RESPA are subject to section 6(f) of
RESPA, which provides borrowers a private right of action to enforce such regulations”).
See also 78 Fed. Reg. at 10737, 10753 (the CFPB noting that Section 1024.35 and 1024.36
implement Section 6(k)(1)(C) and 6(k)(1)(D) respectively).

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108. The CFPB’s authority to prescribe such regulations under Section 2605(k)(1)(E), is
stated in Section 2617 of RESPA: “The [CFPB] is authorized to prescribe such rules and
regulations, to make such interpretations, and to grant such reasonable exemptions for
classes of transactions, as may be necessary to achieve the purposes of this chapter.” 12

U.S.C. § 2617.

109. Mr. Bernstein alleges that Wells Fargo as servicer has failed and refused to comply
with 12 C.F.R. § 1024.36(d) in that Wells Fargo failed and refused to provide adequate
responses to numerous requests for information within the required timeframe, in violation

of 12 U.S.C. § 2605(k)(1)(B).

110. Further, Wells Fargo has failed, and refused to comply with 12 C.F.R. §
1024.36(d)(2)(i)(A) in that Wells Fargo did not the address or provide relevant contact
information for the “owner” of Plaintiff's Promissory Note within ten (10) days after

receiving such request, in violation of 12 U.S.C. § 2605(k)(1)(D).

111. Mr. Bernstein is entitled to actual damages as a result of Defendants’ failure to
comply with Regulation X and RESPA, pursuant to 12 U.S.C. § 2605(£)(1)(A), including
but not limited to: photocopying costs and postage costs incurred as a result of having to
send additional correspondences due to Wells Fargo’s failure to adequately respond to

Plaintiff's requests for information.

112. Mr. Bernstein is entitled to statutory damages in an amount not greater than $2000
pursuant to 12 U.S.C. § 2605(f(1)(B), as a result of Wells Fargo’s pattern or practice of
noncompliance with Regulation X and RESPA.

113. Wells Fargo has also violated Regulation X with respect to numerous loans it

services, including but not limited to, the following loans:

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(1) With respect to loan number ******9791, WFHM violated 12 C.F.R. §
1024.36(d)(2)(i)(B) by failing to provide an adequate written response to a
request for information within the required timeframe.

(2) With respect to loan number ******3460, WFHM violated 12 C.F.R. §
1024.36(d)(2)(i)(B) by failing to provide an adequate written response to a
request for information within the required timeframe.

(3) With respect to loan number ******0479, WFHM violated 12 C.F.R. §
1024.36(d)(2)(i)(B) by failing to provide an adequate written response to a
request for information within the required timeframe.

114. Mr. Bernstein is entitled to the costs of this action, together with a reasonable

attomey's fee as determined by the court, pursuant to 12 U.S.C. § 2605(f)).

FIFTH CLAIM FOR RELIEF
UNFAIR AND DECEPTIVE PRACTICES
(Wells Fargo, Baker Donelson, Linda Finley)

115. Pursuant to the Fair Business Practices Act (FBPA),'7 unfair or deceptive acts or
practices in the conduct of consumer transactions and consumer acts or practices in trade

or commerce declared unlawful. (4 Ga. Jur. Business Torts and Trade Regulation § 1:7),

116. "Consumer acts or practices" means acts or practices intended to encourage

consumer transactions. (O.C.G.A. § 10-1-392(a)(7)).

117. "Consumer transaction" means the sale, purchase, lease, or rental of goods, services,
or property, real or personal, primarily for personal, family, or household purposes

(O.C.G.A. § 10-1-392(a)(10)).

'7 The FBPA creates a separate and distinct cause of action for which a consumer damaged
as a result of a breach of the FBPA has an independent right to recover regardless of any
other theory of recovery (4 Ga. Jur. Business Torts and Trade Regulation § 1:7).

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SIXTH CLAIM FOR RELIEF
CONVERSION, TRESPASS AND NUISANCE
(Against all Defendants)

118. Mr. Bernstein alleges that defendants’ actions result in conversion, trespass, have

been and are a nuisance.!®
119. “Any unlawful interference with, or invasion of, a property right is a trespass.

120. The Code defines ‘trespass’ in its broadest sense as ‘any misfeasance, transgression,
or offense which damages another's health, reputation, or property.’” § 2:4.Trespass in

general, Ga. Law of Torts § 2:4.

121. Georgia has held that “The right of enjoyment of private property being an absolute
right of every citizen, every act of another which unlawfully interferes with such enjoyment

is a tort for which an action shall lie.”

122. Mr. Bernstein alleges that he himself has suffered from discomfort, loss of peace of
mind, unhappiness, and annoyance caused by the nuisance in that he is elderly, disabled,
and the continued acts to foreclose after the loan was legally rescinded, and with
defendants’ actual knowledge that Mr. Bernstein had been approved for reverse mortgage,

yet they refused him the payoff amount.

123. Mr. Bernstein alleges that he has been financially exploited for defendants’ own

monetary gains, which has been a nuisance and a trespass.

18 “Typical of the torts for which such damages may be awarded are assault and battery,
libel and slander, deceit, seduction, alienation of affections, malicious prosecution, and
intentional interferences with property such as trespass, private nuisance, and conversion.
But it is not so much the particular tort committed as the defendant's motives and conduct
in committing it which will be important as the basis of the award.” W.L. Prosser and W.P.
Keeton, supra, pp. 8-11. (Citations omitted and emphasis supplied.)

Colonial Pipeline Co. v. Brown, 258 Ga. 115, 122, 365 S.E.2d 827, 832 (1988).

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124. Wells Fargo, Linda Finley, and Baker Donelson ali had actual knowledge that Mr.
Bernstein had legal right to, and timely and legally did rescind the loan, and the loan had
been rescinded, Mr. Bernstein alleges that their actions rose to the level of nuisance that

Georgia statute recognizes as a tort.

125. For example, Wells Fargo, utilizing their agents Linda Finley and Baker Donelson
repeatedly attempted foreclosure while in the middle of civil litigation, with actual

knowledge that any foreclosure would be overturned.

126. Mr. Bernstein alleges that he had, seven (7) times attempted modification in order
to remain in his home after Wells Fargo refused to acknowledge rescission, the last such
attempt, he was approved for $4500 monthly, but three days later, received a letter from

Wells Fargo denying the modification.

127. Mr. Bernstein was repeatedly refused the payoff amount from Wells Fargo and their

agents, for the entities who approved Mr. Bernstein for reverse mortgage.

128. Defendants have continued with the attempts to foreclose, while the previous
litigation continues in front of U.S. Supreme Court, as they plan to foreclose and exercise

power of sale June 05, 2018, with actual knowledge that the Supreme Court has the case.!?

129. Mr. Bernstein alleges that defendants knowingly, willingly, wantonly, showed

misfeasance and malfeasance in their actions.
130. Mr. Bernstein alleges that defendants; actions were intentional and malicious.

131. Mfr. Bernstein alleges that defendants’ actions were meant to and did interfere with

Mr. Bernstein’s happiness, enjoyment of his property and cost him money.

'9 The US Supreme Court denied pauperis and Mr. Bernstein has already had the 40
Booklet Appeal Briefs delivered to the US Supreme Court by the printers/binders, and it
remains pending.

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132. As a direct and proximate cause of defendants’ actions/inactions Mr. Bernstein has
been harmed, injured, and been made to suffer damages, he will suffer far into the future

from defendants’ actions.

SEVENTH CLAIM FOR RELIEF
NEGLIGENT AND INTENTIONAL MISREPRESENTATION
(Against All Defendants)

133. Mr. Bernstein alleges that Wells Fargo and their agents had willfully made

misrepresentations to and about Mr. Bernstein.

134. For example, Linda Finley contacted Mr. Bernstein, in writing, prior to the 09:30
am hearing in DeKalb County Superior Court for TRO, wherein Finley informed Mr.

Bernstein that she had a conflict and would be unable to appear in court until 10:00 am.

135. Because of the communication for Finley, Mr. Bernstein and his attorney Dale

Calomeni appeared at the Court at 09:50 am.

136. At the Court, Mr, Bernstein and Calomeni were informed that Linda Finley had
appeared at 09:10 am, and had the case transferred to Gwinnett County, even though Mr.

Bernstein lived in DeKalb County.

137. Finley made material misrepresentations to Mr. Bernstein, with the intent that he

rely upon the information.

138. Mr. Bernstein properly and justifiably relied upon the communication from Finley,
after all, attorneys, being officers of the Court, when reporting a fictional conflict, would

be a violation of their ethics.

139. Due to circumstances brought on by Finley’s transfer of his case, Mr. Bernstein

ended up being forced to file bankruptcy in order to stop the sale of his property.

140. Finley’s intentional misrepresentation to Mr. Bernstein, so that she could transfer

the case without Mr. Bernstein being able to object, was an act of malfeasance/misfeasance,

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and resulted in defendants being able to get the case transferred to US District Court for
the Northern District of Georgia, Atlanta Division, where it sat in front of Judge Story for

almost three (3) years.

141. During the time that the case sat in front of District Court, Wells Fargo continued
adding penalties, fees and charges to the loan, and making reports to the credit reporting

agencies.

142. Linda Finley had Wells Fargo attempt to foreclose of Mr. Bernstein’s property every
couple of months, from which Mr. Bernstein was forced to file Bankruptcy two additional

times.

143, Asa disabled and elderly adult, the actions cause Mr. Bernstein extreme harm and

damage.

144. As a direct and proximate cause of defendants’ actions/inactions, Mr. Bernstein has

been injured, harmed and suffered damages.

PRAYER FOR RELIEF
WHEREFORE PREMISES CONSIDERED as Prayer for Relief, and for

the foregoing reasons, Plaintiff prays that Defendants be cited to appear and answer

herein, and that upon final hearing, Plaintiff be awarded judgment:

. Declaring that Defendants lack any interest in the subject property which would
permit them to foreclose, evict, or attempt to foreclose or evict, the trust deed and/or to
sell the subject properties;

° Declaring that the trust deed is not a lien against the subject properties, ordering
the immediate release of the trust deed of record, and quieting title to the subject

properties in Plaintiff and against Defendants and all claiming by, through or under them;

° A refund of any wrongfully or improperly collected fees and payments to
Defendants to which it had no right;

° Pre- and post-judgment interest at the maximum rate allowed by law;

° Attorney’s fees;

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° Monetary relief over $100,000 but not more than $2,000,000,00; and
° Such other and further relief at law and/or in equity to which Plaintiff may be
justly entitled including but not limited to damages within the jurisdictional limits of this

Court, together with pre-judgment and post-judgment interest as are allowed by law.

Respectfully submitted, May 2D. , 2018, p Borate

Steven Bermstein

VERIFICATION
I, Leon Keizer, am the Plaintiff in the above-entitled action.

I declare under penalty of perjury under the laws of the State of Georgia and of the
United States of America that the foregoing is true and correct.

Dated: May.. 2£ 218

Steven W. Bernstein

DEMAND FOR JURY TRIAL
Plaintiff hereby requests a jury trial on all issues raised in this complat

Dated: May.29 , 2018

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FILED 5/25/2018 2:49 PM CLERK OF SUPERIOR COURT DEKALB COUNTY GEORGIA

IN THE SUPERIOR COURT OF DEKALB COUNTY

STATE OF GEORGIA
§
STEVEN BERNSTEIN, §
Plaintiff
§
Vv.

§

Defendants § Civil Action File

§ No 18CV5627
Linda Findley (individually and in her professional

capacities), §

Baker, Donelson, Beaman, Caldwell & Berkowitz, A §
Professional Corporation

Wells Fargo Bank, N.A, §
McCalla Raymer Leibert Pierce, LLC ~
» N.A. Does 1-5

VERIFIED EMERGENCY PETITION FOR TEMPORARY RESTRAINING

ORDER/INJUNCTION AND EX PARTE TEMPORARY RESTRAINING ORDER

COMES NOW, Plaintiff, Steven Bernstein (“Petitioner” or “Mr. Bernstein”), who,
against his will and better judgment, and has been forced into this Court, in Propria
Persona. Mr. Bernstein respectfully files his Verified Emergency Petition for Temporary
Restraining Order/ Injunction and Ex parte Temporary Restraining Order, pursuant to
0.C.G.A. §§ 9-11-65(b), 9-5-1, 9-5-3(b), and shows this Honorable Court the following

pertinent facts:

I. PRELIMINARY STATEMENT

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Petitioner, Mr. Bernstein will show that defendants in this action, and their attorneys
have refused to provide important information to Petitioner, of the nature that he has a right
to be provided with, and for which defendants had a duty to provide to Petitioner.
Petitioner will also show m will show that she has repeatedly attempted to work with
defendants to no avail.

The entities named herein, have, in the past, currently are, and in the future will be guilty
of violating Georgia Real Property Laws, and have ignored and failed to timely and
properly respond to Notice of Error and Debt Validation Requests (“NEDVR”), as well
as Qualified Written Requests (“QWR’s), and have committed fraud upon the Courts in
this state to obtain rulings in their favor. These notices were served on McCalla Raymer
via Certified Mail on 4/25/2018 receipt # 70170190000059388235, The Defendants failure
to respond within the 30 day period is a direct violation of the Fair Debt Collection Act and
puts a stop to the foreclosure sale scheduled for June 5, 2018. In addition, Plaintiff has
applied for modifications 7 times. The last time he was approved then 3 days later he
received a denial letter. In addition, Plaintiff has been approved by Wells Fargo (once) and
three other mortgage companies for a reverse mortgage and Wells Fargo has never given
Plaintiff a proper payoff to consummate the reverse mortgage. Plaintiff is elderly and has
resided in his current home 23 years and wishes to remain in his primary residence.

Plaintiff wishes his case be referred to the DeKalb County Mediation Center.

Indeed, Mr. Bernstein has been has been living with both a threatened and existing
tort, and that the actions against Mr. Bernstein, and others similarly situated have been
illegal, and contrary to equity, and good conscience. Without a TRO/Injunction, Mr.

Bernstein will be irreparably harmed, and he will wrongfully lose the home.

Case 1:18-cv-02887-RWS Documenti1-2 Filed 06/14/18 Page 35 of 52

This Court has broad discretion in deciding to Grant Mr. Bernstein’s Petition. The
purpose for granting an interlocutory injunction is to preserve the status quo pending final
adjudication of the case. MARTA v. Wallace, 243 Ga. 491, 254 S.E.2d 822 (1979).
Generally the trial court has broad discretion to decide to grant Mr. Bernstein an
interlocutory injunction. OCGA § 9-5-8. W. v. Koufman, 259 Ga. 505, 505, 384 S.E.2d
664, 666 (1989).

Just as in W. v. Koufiman, Petitioner has alleged that defendants have solicited third
parties to file fictional documents, which created a lien against the property. “This conduct,
if proved, would constitute a breach of the duty of good faith and fair dealing that is implied
in all contracts. OCGA § 11—-1-203; Jackson Electric Membership Corp. v Georgia
Power Co., 257 Ga. 772, 364 $.E.2d 556 (1988); see also Restatement, Second, Contracts,
§ 231 (‘Every contract imposes upon each party a duty of good faith and fair dealing in its
performance and its enforcement.’) In this case, West's breach of this duty might preclude
him from insisting on strict compliance with the default provision in the deed. We therefore
conclude that the trial court acted within its discretion in granting the interlocutory
injunction pending final adjudication of the merits of the case”. W. v. Koufman, 259 Ga.
505, 505, 384 S.E.2d 664, 666 (1989).

Mr. Bernstein, below, explains the grounds for which the Court must Grant the
Petition, the persuasive arguments will also provide the Court with the necessary statutes
and rules that give this Honorable Court the power to Grant the Petition, wherein, no
appellate court will overturn this Court’s ruling, absent manifest abuse of discretion, which
cannot be found here.

II. JURISDICTION AND VENUE

Jurisdiction and Venue are proper in this court, because the subject is real property,
and ownership of that real property, which is located in DeKalb County, Georgia. “... [fJor

the purpose of enabling all persons owning real estate within this state to have the title

Case 1:18-cv-02887-RWS Documenti1-2 Filed 06/14/18 Page 36 of 52

thereto settled and registered[,] ... the superior court of the county in which the land is
located shall have exclusive original jurisdiction of all petitions and proceedings had
thereupon.” (Emphasis supplied.) OCGA § 44-2-60. Setlock v. Setlock, 286 Ga. 384, 385,
688 S.E.2d 346, 347 (2010).

Further, jurisdiction is proper in Superior court because the Court has jurisdiction
over all causes, both civil and criminal, as granted by the State of Georgia Constitution,
Art. VI, §4, 9; and O.C.G.A. §§ 15-6-8, and 9-4-2. Superior Court is a court of general
jurisdiction, and has the power and authority to hear appeals from lower courts of limited

jurisdiction, and make rulings on matters of equity.
III. . PARTIES TO THE ACTION

1. Petitioner, Bernstein, during all times relevant owned and resided on 1428 Valley
View Rd., Dunwoody, Ga. 30338, in DeKalb County.

2. Defendant, Wells Fargo Bank, N.A. at all times relevant, has been a Foreign For
Profit National Banking Association, a Non Depository Payor Bank doing business in
Dekalb County, Georgia..

3. Defendant Linda Finley who has played musical chairs with Plaintiff’s venue and

engaged in unethical practices as a lead attorney for Baker, Donaldson.
4, Defendant McCalla Raymer Leibert Pierce, LLC

5. Whenever appearing in this complaint, each and every reference to Defendants or
to any of them, is intended to be and shall be a reference to all defendants hereto, and to

each of them, unless said reference is specifically qualified.

Il. GENERAL ALLEGATIONS
6. Mr. Bernstein contends that having had a professional auditor go over the subject

property documents, with a fine tooth comb, which is what the Complaint, filed

contemporaneously herewith, is based upon, that none of the defendants can show an

Case 1:18-cv-02887-RWS Documenti1-2 Filed 06/14/18 Page 37 of 52

unbroken chain of title that would give any defendant an interest in the loan or property,.
7. To date, Mr. Bernstein has been denied the knowledge of the true owner/holder of
the Note and Security Deed, as Mr. Bernstein’s loan is scheduled to be foreclosed on June
5, 2018..

8. Although there are literally thousands of Georgia properties with bogus documents
recorded against their properties, the borrowers are not allowed to question the documents
existence or where they came from.

9. Wells Fargo Bank , N.A. and attorneys for Defendants cannot be trusted to tell the
truth; they have perpetrated a fraud upon numerous courts and been caught committing that
fraud upon the Courts,

10. The auditor that Petitioner hired to do the audit on his loan, explains it more
thoroughly as shown in the Complaint filed.

11. One thing that is often overlooked, is that Terrace Mortgage (originator) is not
authorized on the MERS system to assign loans or Security Deeds to Freddie Mac creating
a break in the chain of title.

Il. ARGUMENT AND CITATIONS OF AUTHORITY

A. Ex Parte Emergency TROs Provided for by U.S.C.R. 6.2, 6.7,

O0.C.G.A. 9-J1-56(b)

Mr. Bernstein, at all times has acted in good faith. This Court has the power
and authority to grant the TRO\njunction ex parte, and the appellate courts will not
overturn that ruling, except for an abuse of discretion. It has been spelled out within the
Uniform Superior Court Rules, and the Civil Practice Act. Uniform Superior Court Rule

6.2 provides “ ... 30 days within which to respond to a motion; however, the rule allows

the trial court... to shorten this time by written order, issued as a rule nisi”.

Further, Uniform Superior Court Rule 6.7 Motions in Emergencies, states:

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“Upon written notice and good cause shown, the assigned judge may
shorten or waive the time requirement applicable to emergency motions,
except motions for summary judgment, or grant an immediate hearing on
any matter requiring such expedited procedure. The motion shall set forth
in detail the necessity for such expedited procedure.

Ga. Unif. Super. Ct. R. 6.7.

“A motion for interlocutory injunction or a TRO is an extraordinary motion, which
is time sensitive, unlike other motions, because it seeks to preserve the status quo until a
full hearing can be held to avoid irreparable harm. If a TRO is granted ex parte, then a
hearing for interlocutory injunction must be held within 30 days or the TRO is dissolved
as a matter of law”. OCGA § 9~11-65(b).

“A motion for interlocutory injunction or a TRO is an extraordinary motion, which
is time sensitive, unlike other motions, because it seeks to preserve the status quo until a
full hearing can be held to avoid irreparable harm.” Focus Entertainment International,

Inc., v. Partridge Greene, Inc. (253 Ga. App. 121) (558 SE2d 440) (2001).

The Fecus Court went on to explain that foreclosure is one such instance which

“injunction is appropriate” because “when an interest in land is threatened with harm”,

“such harm is deemed to be irreparable to the unique character of the property interest, i.e.,
money damages are not adequate compensation to protect the interest harmed.” See the

following:

“(a) Land, under Georgia law, is deemed sufficiently unique that it is
entitled to equitable remedies to protect such interest in land. Rife v.
Corbett, 264 Ga. 871 (455 SE2d 581) (1995) (injunction to protect an
easement); Benton v. Patel, 257 Ga. 669, 672 (1) (362 SE2d 217) (1987)
(injunction to stop foreclosure); Black v. American Vending Co., 239
Ga. 632, 634 (2) (238 SE2d 420) (1977) ("the law regards as sufficiently
unique that equity will enforce a contract for [land] sale or lease"); Clark
v. Cagle, 141 Ga. 703, 705-706 (1) (82 SE 21) (1914) (specific
performance of contract to sell land). Therefore, when an interest in land
is threatened with harm, equitable injunctive relief is appropriate,

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because such harm is deemed to be irreparable to the unique
character of the property interest, i.e, money damages are not
adequate compensation to protect the interest harmed. See generally
Central of Ga. R. Co. vy. Americus Constr. Co., 133 Ga. 392, 398 (65 SE
855) (1909) (irreparable injury defined to enjoin a nuisance); see also Roth
v. Connor, 235 Ga. App. 866, 868-869 (1) (510 SE2d 550) (1998)
(property interests of grantor and others in restrictive covenants for their
benefit).”

0.C.G.A. §9-11-65(b) permits the court to grant Temporary Restraining Order
without notice to the opposition, if

(1) It clearly appears from specific facts shown by Verified complaint
that immediate and irreparable injury will result to the applicant before the
adverse party or his attorney can be heard in opposition; and

(2) The applicant’s attorney, or the pro se litigant certifies to the court,

in writing the efforts, if any, which have been made to give the notice and

the reasons supporting the party’s claim that notice should not be required.
Further, Uniform Superior Court Rule 6.7 Motions in Emergencies, states:

“Upon written notice and good cause shown, the assigned judge may
shorten or waive the time requirement applicable to emergency motions,
except motions for summary judgment, or grant an immediate hearing on
any matter requiring such expedited procedure. The motion shall set forth
in detail the necessity for such expedited procedure.

Ga. Unif. Super. Ct. R. 6.7.

OCGA § 9-11-65(b) (Code Ann. § 81A—165) provides, in part: “A temporary

restraining order may be granted without written or oral notice to the adverse party ... if:

(1) It clearly appears from specific facts shown by affidavit or by the verified complaint
that immediate and irreparable injury, loss or damage will result to the applicant before the

adverse party or his attorney can be heard in opposition; and (2) the applicant's attorney

certifies to the court, in writing, the efforts, if any, which have been made to give the notice

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and the reasons supporting the party's claim that notice should not be required ...” Stewart

v. McLean, 252 Ga. 455, 455, 314 8.E.2d 439, 440 (1984).

The court does not sanction the holding of ex parte hearings, except in the case of
extraordinary matters, such as temporary restraining orders (TRO). City of Pendergrass
v. Skelton, 278 Ga. App. 37, 628 S.E.2d 136 (2006); Biggs v. Heriot, 249 Ga. App. 461,
549 §.E.2d 131 (2001).

This exception is an acknowledgment that such motions quite often have to be
obtained instanter; otherwise, property may change possession, and the matter may become
moot. City of Pendergrass v. Skelton, 278 Ga. App. 37, 628 S.E.2d 136 (2006).
“Temporary restraining orders may be issued without notice to the opposing party in some
situations”. Bishop v. Patton, 288 Ga. 600, 706 S.E.2d 634 (2011) (disapproved of on
other grounds by, SRB Inv. Services, LLLP v. Branch Banking and Trust Co., 289 Ga.
1, 709 S.E.2d 267 (2011)). 7 Ga. Proc. Special Remedies and Proceedings § 2:17.

Wells Fargo ’s bad faith actions shows their lack of concern for being honest with
the Court, and that they are intent on doing as they please while having actual knowledge
that they have no interest in the Ioan or property at all. The court does not sanction the
holding of ex parte hearings, except in the case of extraordinary matters, such as temporary
restraining orders (TRO). City of Pendergrass v. Skelton, 278 Ga. App. 37, 628 S.E.2d
136 (2006); Biggs v. Heriot, 249 Ga. App. 461, 549 S.E.2d 131 (2001).

This exception is an acknowledgment that such motions quite often have to be
obtained instanter; otherwise, property may change possession, and the matter may become
moot. City of Pendergrass v. Skelton, 278 Ga. App. 37, 628 S.E.2d 136 (2006).
“Temporary restraining orders may be issued without notice to the opposing party in some

situations”. Bishop v. Patton, 288 Ga. 600, 706 S.E.2d 634 (2011) (disapproved of on

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other grounds by, SRB Inv. Services, LLLP v. Branch Banking and Trust Co., 289 Ga.
1, 709 S.E.2d 267 (2011)). 7 Ga. Proc. Special Remedies and Proceedings § 2:17.

CONCLUSION |

Mr. Bernstein, has acted in good faith in his actions towards defendants. Mr.
Bernstein contends that he will suffer irreparable injury if the Court does not Grant the
TRO/Injunction. The threatened injury to Mr. Bernstein outweighs the threatened harm
that the injunction may do to the party enjoined. There is a substantial likelihood that Mr.
Bernstein will prevail on the merits of his claims at trial, and further, granting the
interlocutory injunction will not disserve the public interest. Grossi Consulting, LLC v.
Sterling Currency Grp., LLC, 290 Ga. 386, 388, 722 S.E.2d 44, 46 (2012); Bishop v.
Patton, 288 Ga. 600, 604, 706 S.E.2d 634 (2011); Focus Entertainment International,
Inc., v. Partridge Greene, Inc, (253 Ga. App. 121) (558 SE2d 440) (2001).

The Georgia Court of Appeals has held that it is not an abuse of discretion for the
Court to Grant an Emergency Injunction ex parte’: “Land, under Georgia law, is deemed
sufficiently unique that it is entitled to equitable remedies to protect such interest in land.
Rife v. Corbett, 264 Ga. 871, 455 S.E.2d 581 (1995) (injunction to protect an easement);
Benton v. Patel, 257 Ga. 669, 672(1), 362 S.E.2d 217 (1987) (injunction to stop

foreclosure)”. Therefore, as in the case at bar, when an interest in land is threatened with

harm, equitable injunctive relief is appropriate, because such harm is deemed to be

irreparable to the unique character of the property interest, i.c., money damages are not

adequate compensation to protect the interest harmed. See generally Central of Ga. R. Co.
v. Americus Constr. Co., 133 Ga. 392, 398, 65 S.E. 855 (1909) (irreparable injury defined

to enjoin a nuisance); see also Roth v. Connor, 235 Ga.App. 866, 868-869(1), 510 S.E.2d
550 (1998) (property interests of grantor and others in restrictive covenants for their

benefit)” “The trial court may issue an interlocutory injunction to maintain the status quo

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until there is a final hearing on the merits if, “by balancing the relative equities of the
parties, it would appear that the equities favor the party seeking the injunction. Thus, a
demonstration of irreparable injury is not an absolute prerequisite to interlocutory
injunctive relief.’ (Citations and punctuation omitted.) Parker v. Clary Lakes Recreation
Assn., 272 Ga. 44, 45, 526 S.E.2d 838 (2000) (enjoin the change in bylaws of a civic
association); see also Jackson v. Delk, 257 Ga. 541, 543-544(4), 361 S.E.2d 370 (1987)
(violation of zoning ordinance)”. Focus Entim't Int'l, Inc. v. Partridge Greene, Inc., 253

Ga. App. 121, 127, 558 S.E.2d 440, 446 (2001).

' PRAYER FOR RELIEF

Mr. Bernstein moves this Honorable Court to GRANT his TRO\Preliminary
Injunction, and to, within thirty (30) days, have a Rule Nisi hearing to determine whether
or not an injunction is needed. Mr. Bernstein prays that his case be transferred to the

Dekalb Mediation Center due to the fact Wells Fargo will not provide a proper payoff

figure or allow Mr. Bernstein to obtain a reverse mortgage on 4 times.

Mr. Bernstein has provided the Court with a proposed Order Granting the TRO,
with the understanding that the Respondents have actual knowledge of, and been sent a
copy of the Emergency Petition, and that Respondents will be immediately, formally

served with the signed Order, and with Summons and Petition.

Respectfully submitted, this 2> day of May, 2018

ac Bonne

I, Steven Bernstein, Pro per, am the Plaintiff in the above entitled matter and have

VERIFICATION

personal knowledge to testify to the matters stated therein. I have read the facts and allegations

Case 1:18-cv-02887-RWS Document1-2 Filed 06/14/18 Page 43 of 52

and declare under penalty of perjury in and for the State of Georgia that the above is true and

correct to the best of my knowledge.

Steven Bernsiep, ip7° per
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Case 1:18-cv-02887-RWS Documenti1-2 Filed 06/14/18 Page 44 of 52

FILED 5/25/2018 2:49 PM CLERK OF SUPERIOR COURT DEKALB COUNTY GEORGIA

IN THE SUPERIOR COURT OF DEKALB COUNTY
STATE OF GEORGIA

Shiew _Revastetad

Plaintiff (s),

Defendant (s).

CIVIL ACTION NO.: _ 18CV5627

REFERRAL TO ALTERNATIVE DISPUTE RESOLUTION PROGRAM

This action meets the requirements for referral to the DeKalb County Multi-Door Courthouse
Resolution Center as set forth in this court’s local rules of procedure. The Center is located at 106 E. Ponce
de Leon Ave, Decatur, GA, It is hereby ordered that both the plaintiff and defendant will call the Center
at (404) 370-8194, within ten (10) days of this order to participate in a confidential intake conference to
learn about the benefits provided, explore alternative resolution options available, and screen for
appropriateness. Completion and submission of the Center’s General Civil or Domestic Intake Form will

satisfy the contact provision of this order.

The Center must be notifted of past violence or present concerns for safety. If an alternative dispute
resolution session is scheduled, both parties are to attend and use their best efforts, in good faith, to resolve

all issues raised in this case.

All parties in cases of divorce, modification, separate maintenance, visitation or change of custody,
where the interest of a child under 18 years of age is involved, are required to attend the Seminar for
Divorcing Parents (404-371-4953 for information), prior to a scheduled alternative dispute resolution

session. The Center must be notified of any past violence or present concerns for safety,

So ORDERED this day of ;
JUDGE
Superior Court Of DeKalb County
Case type: General Civil ‘_, Divorce . Modification , Contempt Other
Shien Bovu Hew, fuck
Name of Attorney or Plaintiff Name of Attomey or Defendant

Address Address

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IN THE SUPERIOR COURT OF DEKALB COUNTY

State of Georgia
Steven W. Bernstein,
Plaintiff CIVIL ACTION
VS.
Linda Findley (individually and in her NO.

professional capacities),

Baker, Donelson, Beaman, Caldwell &
Berkowitz, A Professional Corporation

Wells Fargo Bank, N.A,
McCalla Raymer Leibert Pierce, LLC
Defendants

CERTIFICATE OF SERVICE

This is to certify that I have this day Sept.30. 2017, served the
Defendant in the foregoing matter with a copy of COMPLAINT FOR
DAMAGES, WRONFUL FORECLOSURE, AND EQUITABLE RELIEF

Plaintiff's Complaint_by U.S. Mail as follows:

Linda Findley % Baker, Donelson, Beaman, Caldwell & Berkowitz

Wells Fargo Bank, N.A.

McCalla Raymer Leibert Pierce, LLC

Case 1:18-cv-02887-RWS Document1-2 Filed 06/14/18 Page 46 of 52

FILED 5/25/2018 2:49 PM CLERK OF SUPERIOR COURT DEKALB COUNTY GEORGIA

IN THE SUPERIOR COURT OF DEKALB COUNTY

State of Georgia
Steven W. Bernstein,
Plaintiff CIVIL ACTION
vs.
Linda Findley (individually and in her NO. 1BCVS627

professional capacities),

Baker, Donelson, Beaman, Caldwell &
Berkowitz, A Professional Corporation

Wells Fargo Bank, N.A,
McCalla Raymer Leibert Pierce, LLC
Defendants

CERTIFICATE OF SERVICE

This is to certify that I have this day Sept.30. 2017, served the
Defendant in the foregoing matter with a copy of COMPLAINT FOR
DAMAGES, WRONFUL FORECLOSURE, AND EQUITABLE RELIEF

Plaintiff's Complaint_by U.S. Mail as follows:

Linda Findley % Baker, Donelson, Beaman, Caldwell & Berkowitz

Wells Fargo Bank, N.A.

McCalla Raymer Leibert Pierce, LLC

Case 1:18° PO 28S 7S RANAS™ “BE EHTS Ae OR a GI FAS” SPARS 47 of 52

IN THE SUPERIOR COURT OF DEKALB COUNTY

STATE OF GEORGIA
STEVEN W. BERNSTEIN, :
Plaintiff, CIVIL ACTION
Vs. FILE NO.18CV5627-9
LINDA FINDLEY, ET AL.,
Defendants.
ORDER

This case came to be heard on May 29, 2018 on Plaintiff Steven W. Bernstein’s
(“Plaintiff”) Verifted Emergency Petition for Temporary Restraining Order/Injunction and Ex
Parte Temporary Restraining Order. Upon consideration of the pleadings, the Court finds:

1, Plaintiff has shown that immediate and irreparable injury, loss and damage will

result to Plaintiff before Defendants or its attorney can be heard in opposition;

2. Only the entry of a temporary restraining order will serve to adequately protect

Plaintiffs legitimate rights and to prevent imminent and irreparable injury, loss
and damage to Plaintiff; and

3, The harm to Plaintiff, should this Court decline to grant Plaintiff's Emergency

Motion, outweighs any harm that Defendants may incur in the event this court
grants Plaintiff's Verified Complaint.

NOW IT IS THEREFORE ORDERED THAT Plaintiff's Emergency Motion for
Temporary Restraining Order and Ex Parte Temporary Restraining Order is GRANTED pursuant
to O.C.G.A, §9-11-65 (b), and the Defendants and all persons or entities acting on their behalf

are hereby temporarily restrained as follows until further Order of this court: Defendants, its

Case 1:18-cv-02887-RWS Documenti1-2 Filed 06/14/18 Page 48 of 52

officers, agents, servants, employees, representatives, subsidiaries, affiliates, attorneys, and any
parties acting in active concert or participation with any of the foregoing are ordered to cease and
desist and otherwise refrain from selling the property located at 1428 Valley View Road,
Dunwoody, GA 30338, DeKalb County, Georgia on June 5, 2018,

IT IS HEREBY ORDERED that the Plaintiff and Defendants shall appear and show
cause before the appropriate non-jury division of the Court, before the Honorable Mark Anthony
Scott, at the Superior Court of DeKalb County on the 15" day of June, 2018 at 10:30 am in
Room 6Aas to why an interlocutory injunction should not be granted.

VE

SO ORDERED this” / day of L ‘4 2018 at

ENT/CRAWEORD, JUDGE |
SITHNG BY DESIGNATION FOR
MARK ANTHONY SCOTT, JUDGE
STONE MOUNTAIN JUDICIAL CIRCUIT

Case 1:18-cv-02887-RWS Documenti1-2 Filed 06/14/18 Page 49 of 52
FILED 6/5/2018 12:28 PM Clerk of Superior Court DeKalb County

AFFIDAVIT OF SERVICE

State of Georgia County of DeKalb Superior Court

Case Number: 18-CV-5627-9

Plaintiff:
STEVE W. BERNSTEIN

VS.

Defendant:
Linda Findley, Donelson, Beaman, Caldwell & Berkowitz, Wells Fargo

Bank, N.A, McCaltla Raymer Leibert Pierce, LLC N.A. Does 1-5

For:

Received by BT Process Service on the 28th day of May, 2018 at 10:00 am to be served on Wells Fargo
Bank, N.A. c/o Registered Agent Corporation Service Company, 40 Technology Parkway South # 300,
Norcross, GA 30092.

|, Berhane Tassaw, being duly sworn, depose and say that on the 29th day of May, 2018 at 2:30 pm, I:

served a REGISTERED AGENT by delivering a true copy of the Summons, Verified Emergency
Petition for Temporary Restraining Order/injunction and EX Parte Temporary Restraining Order.
with the date and hour of service endorsed thereon by me, to: Alisha Smith as Registered Agent at the
address of: 40 Technology Parkway South # 300, Norcross, GA 30092 on behalf of Wells Fargo Bank,
N.A., and informed said person of the contents therein, in compliance with state statutes.

Description of Person Served: Age: 40, Sex: F, Race/Skin Color: BLACK, Height: 5'8, Weight: 160, Hair:
BROWN, Glasses: N

| certify that | am over the age of 18, have no interest in the above action, and am a Certified Process
Server, in good standing. Affiant is appointed as process server by this court by attached order incorporated
herein by reference.

—Y] os

Berffane Tassaw

Subscribed and Sworn to before me on the 3rd day Process Server

of June, 2078rby the affiant who is personally known

to me. yy BT Process Service
4514 Chamblee Dunwoody Rd.
Ste 231

NOTARY PUBLIC Atlanta, GA 30338
(404) 455-1603

D BROWN
NOTARY PUBLIC Our Job Serial Number: BTP-2018000030
DEKALB COUNTY, GEORGIA

MY COMMISSION EXPIRES MAY 21, 2018

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Case 1:18-cv-02887-RWS Documenti1-2_ Filed 06/14/18 Page 50 of 52
FILED 6/5/2018 12:28 PM Clerk of Superior Court DeKalb County

AFFIDAVIT OF SERVICE

State of Georgia County of DeKalb Superior Court

Case Number: 18-CV-5627-9

Plaintiff:
STEVE W. BERNSTEIN

vs.

Defendant:
Linda Findley, Donelson, Beaman, Caldwell & Berkowitz, Wells Fargo
Bank, N:A, McCalla Raymer Leibert Pierce, LLC N.A. Does 1-5

For:

Received by BT Process Service on the 29th day of May, 2018 at 11:50 am to be served on Linda Findley,
3414 Peachtree Rd Suite 1600, Atlanta, GA 30326.

|, Berhane Tassaw, being duly sworn, depose and say that on the 30th day of May, 2018 at 4:30 pm, I:

SUBSTITUTE served by delivering a true copy of the Summons, Verified Emergency Petition for
Temporary Restraining Order/Injunction and EX Parte Temporary Restraining Order. with the date
and hour of service endorsed thereon by me, to: Jonathan Green as Authorized to accept on behalf of
Linda Findley, a person employed therein and authorized to accept service for Linda Findley at the
address of: 3414 Peachtree Rd Suite 1600, Atlanta, GA 30326, the within named person's usual place of
Work, in compliance with State Statutes.

| certify that | am over the age of 18, have no interest in the above action, and am a Certified Process
Server, in good standing. Affiant is appointed as process server by this court by attached order incorporated

herein by reference.
_f= ——

Berhake Tassaw

Subscribed and Sworn to before me on the 3rd day Process Server

of June, 2018 py the affiant who is personally known

to me. BT Process Service

) 4514 Chamblee Dunwoody Rd.

Ste 231

NOTARY PUBLIC Atlanta, GA 30338
(404) 455-1603

RO RLS Our Job Serial Number: BTP-2018000029
DEKALB COUNTY, GEORGIA

MY COMMISSION EXPIRES MAY 21, 2019

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Case 1:18-cv-02887-RWS Documenti1-2 Filed 06/14/18 Page 51 of 52
FILED 6/5/2018 12:28 PM Clerk of Superior Court DeKalb County

AFFIDAVIT OF SERVICE

State of Georgia County of DeKalb Superior Court

Case Number: 18-CV-5627-9

Plaintiff:
STEVE W. BERNSTEIN

VS.

Defendant: .
Linda Findley, Donelson, Beaman, Caldwell & Berkowitz, Wells Fargo
Bank, N.A, McCalla Raymer Leibert Pierce, LLC N.A. Does 1-5

For:

Received by BT Process Service on the 28th day of May, 2018 at 10:00 am to be served on McCalla
Raymer Leibert Pierce Lic, N.A. 1-5, 1544 Old Alabama Rd, Roswell, GA 30076.

|, Berhane Tassaw, being duly sworn, depose and say that on the 29th day of May, 2018 at 3:50 pm, I:

served a CORPORATION by delivering a true copy of the Summons, Verified Emergency Petition for
Temporary Restraining Order/Injunction and EX Parte Temporary Restraining Order. with the date
and hour of service endorsed thereon by me, to: Steven Flynn as Partner for McCalla Raymer Leibert
Pierce Lic, N.A. 1-5, at the address of: 1544 Old Alabama Rd, Roswell, GA 30076, and informed said

person of the contents therein, in compliance with state statutes.

Description of Person Served: Age: 45, Sex: M, Race/Skin Color: WHITE, Height: 5'9, Weight: 170, Hair:
BROWN, Glasses. N

| certify that | am over the age of 18, have no interest in the above action, and am a Certified Process
Server, in good standing. Affiant is appointed as process server by this court by attached order incorporated
herein by reference.

Berhané Tassaw

Subscribed and Sworn to before me on the 3rd day Process Server

of June, 2018 by the affiant who is personally known

tome. 7, BT Process Service
4514 Chamblee Dunwoody Rd.
Ste 231

NOTARY pup Atlanta, GA 30338
404) 455-1603

COUNTY, GEORGIA
DEKALB EXPIRES MAY 21,2018 Our Job Serial Number: BTP-2018000031
MY COMMISSION

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Case 1:18-cv-02887-RWS_ _Document1-2 Filed 06/14/18 Page 52 of 52
FILED 6/5/2018 12:28 PM Clerk of Superior Court DeKalb County

AFFIDAVIT OF SERVICE

State of Georgia County of DeKalb Superior Court

Case Number: 18-CV-5627-9

Plaintiff:
STEVE W. BERNSTEIN

vs.

Defendant:
Linda Findley, Donelson, Beaman, Caldwell & Berkowitz, Wells Fargo
Bank, N.A, McCalla Raymer Leibert Pierce, LLC N.A. Does 1-5

For:

Received by BT Process Service on the 28th day of May, 2018 at 10:00 am to be served on Donelson,
Beaman, Caldwell & Berkowitz, 3414 Peachtree Rd Suite 1600, Atlanta, GA 30326.

!, Berhane Tassaw, being duly sworn, depose and say that on the 29th day of May, 2018 at 1:40 pm, I:

served a CORPORATION by delivering a true copy of the Summons, Verified Emergency Petition for
Temporary Restraining Order/injunction and EX Parte Temporary Restraining Order. with the date
and hour of service endorsed thereon by me, to: Linda Klein as Registered Agent for Donelson,
Beaman, Caldwell & Berkowitz, at the address of: 3414 Peachtree Rd Suite 1600, Atlanta, GA 30326,
and informed said person of the contents therein, in compliance with state statutes.

Description of Person Served: Age: 55, Sex: F, Race/Skin Color: WHITE, Height: 5'5, Weight: 150, Hair:
GRAY, Glasses: Y

| certify that | am over the age of 18, have no interest in the above action, and am a Certified Process
Server, in good standing. Affiant is appointed as process server by this court by attached order incorporated
herein by reference. ,

—

f

Berhane Tassaw

Subscribed and Sworn to before me on the 3rd day Process Server
of June, 2 48 by the affiant who is personally known
to me. BT Process Service

4514 Chamblee Dunwoody Rd.

==>, Ste 231
NOTARY PUBEIC™ Atlanta, GA 30338
(404) 455-1603
D BROWN
NOTARY PUBLIC Our Job Serial Number: BTP-2018000032
DEKALB COUNTY, GEORGIA

MY COMMISSION EXPIRES MAY 21, 2019

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